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 1    [Counsel Listed on Signature Pages]
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 8                                  UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION

11
     SARAH ANDERSEN, KARLA ORTIZ,
12   GRZEGORZ RUTKOWSKI, GREGORY                           Case No. 3:23-cv-00201-WHO
13   MANCHESS, GERALD BROM, JINGNA
     ZHANG, JULIA KAYE, ADAM ELLIS;                        JOINT CASE MANAGEMENT
14                                                         STATEMENT AND RULE 26(f) REPORT
              Individual and Representative Plaintiﬀs,
15                                                         Hearing Date: December 17, 2024
              v.                                           Time: 2:00 PM
16                                                         Place: via Zoom
     STABILITY AI LTD., STABILITY AI, INC.,                Judge: Hon. William H. Orrick
17
     DEVIANTART, INC., MIDJOURNEY, INC.,
18   RUNWAY AI, INC.

19            Defendants.
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 1            Pursuant to Civil Local Rule 16-9, the Standing Order For All Judges of The Northern District

 2   Of California (updated Nov. 30, 2023), and the Court’s October 29, 2024, Order scheduling a Further

 3   Case Management Conference (Dkt. 240), counsel for Plaintiffs Sarah Andersen, Karla Ortiz, Grzegorz

 4   Rutkowski, Gregory Manchess, Gerald Brom, Jingna Zhang, Julia Kaye, Adam Ellis, and the proposed

 5   class (together, “Plaintiffs”) and Defendants Stability AI Ltd. and Stability AI, Inc. (together, “Stability

 6   AI”), DeviantArt, Inc. (“DeviantArt”), Midjourney, Inc. (“Midjourney”), and Runway AI, Inc.

 7   (“Runway”) respectfully submit this Joint Case Management Statement in advance of the Case

 8   Management Conference on December 17, 2024.

 9   1.       Jurisdiction and Service

10            This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal question), as this

11   action alleges violations of the U.S. Copyright Act (17 U.S.C. § 501). All parties have been served.

12   2.       Facts

13            Plaintiffs’ Statement

14            The Second Amended Complaint (“SAC”) (Dkt. 238) includes one count of direct copyright

15   infringement each against Defendants Stability AI, DeviantArt, and Runway; one count of inducement

16   of copyright infringement each against Stability AI and Runway; two counts of direct copyright

17   infringement against Midjourney; one count of false endorsement under the Lanham Act against

18   Midjourney; and one count of vicarious trade-dress violation under the Lanham Act against

19   Midjourney.1

20            Plaintiffs are artists who own copyrights in Works allegedly used to train Defendants’ image-text

21   generative AI models, including the Stable Diffusion models, Runway models, the Deviant Art

22   DreamUp–CompVis Model, and the Midjourney models, (“Defendants’ Models”) that underpin

23   Defendants’ generative AI image products. The SAC alleges that each Defendant copied Plaintiffs’

24   registered Works to train (i.e., the process by which an Artificial Intelligence (“AI”) program can

25   compress and store training images in order to generate outputs in response to prompts) Defendants’

26
     1
27    Pursuant to the Court’s August 12, 2023 Order granting in part and denying in part Defendants’
     motions to dismiss Plaintiffs’ First Amended Complaint, (Dkt. 223), and Plaintiffs’ Notice of Voluntary
28   Dismissal, (Dkt. 241), the claims alleging Digital Millennium Copyright Act violations have been
     dismissed.
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 1   Models in violation of the Copyright Act, 17 U.S.C. § 501. Further, the SAC alleges that Defendants’

 2   Models have the ability to reproduce identical or near-identical facsimiles of training images. The SAC

 3   additionally contains allegations demonstrating that Defendants Stability AI and Runway are liable for

 4   inducing others to infringe Plaintiffs’ copyrights because Stable Diffusion was designed to facilitate—

 5   and has facilitated—infringement by other parties. Finally, the SAC alleges that Defendant Midjourney

 6   is liable for violations of the Lanham Act, 15 U.S.C. § 1125(a) because its use of the Midjourney Named

 7   Plaintiffs’ protected marks is likely to cause consumer confusion and because its models were designed

 8   to imitate the Midjourney Named Plaintiffs’ trade dress with the intent to cause confusion, mistake or

 9   deception.

10            Defendants’ Statements

11            In the interests of brevity and to comply with the page limit set forth in the Standing Order for

12   All Judges of the Northern District of California, Defendants incorporate by reference their Statements

13   of Facts from the October 22, 2024 Joint Case Management Statement and Rule 26(f) Report, reserving

14   the right to revise them as necessary. See Dkt. 235 at 3-6.

15   3.       Legal Issues

16            Plaintiffs’ Statement

17            The legal and factual issues at the core of this case are whether Defendants’ unlawful conduct

18   has violated the Copyright Act, 17 U.S.C. § 501, et seq., and the Lanham Act, 15 U.S.C. § 1051, et seq.

19   Plaintiffs anticipate that Defendants will rely on a fair use defense, but Defendants will not be able to

20   carry their burden to prove fair use.

21            There are numerous other questions of law or fact common to the class, and those issues

22   predominate over any question affecting individual class members. See Section 9, infra.

23            Defendants’ Statements

24            In the interests of brevity and to comply with the page limit set forth in the Standing Order for

25   All Judges of the Northern District of California, Defendants incorporate by reference their Statements

26   of Legal Issues from the October 22, 2024 Joint Case Management Statement and Rule 26(f) Report,

27   reserving the right to revise them as necessary. See Dkt. 235 at 6-8.

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 1   4.       Motions

 2            There are no motions pending at this time. Rather, the parties submitted briefs regarding the ESI

 3   Protocol and Protective Order on December 9, 2024, which are currently before the Court.

 4            As noted in Section 8 (Discovery) below, Plaintiffs anticipate seeking stipulated protocols

 5   addressing depositions, and experts.

 6            The parties hope to resolve discovery disputes without judicial intervention but anticipate that

 7   discovery motions may be necessary. The parties also anticipate Plaintiffs will file a motion for class

 8   certification under Rule 23, which Defendants intend to oppose. The parties also anticipate filing

 9   motions for summary judgment or adjudication under Rule 56.

10   5.       Amendment of Pleadings

11            Plaintiffs’ Statement

12            Plaintiffs have filed a Second Amended Complaint (“SAC”) pursuant to the Court’s Order on

13   Defendants’ motions to dismiss (Dkt. 223). They have not made substantive modifications that would

14   invite further Rule 12 briefing, but rather clarified allegations and corrected typographical errors in the

15   SAC.

16            This Court previously dismissed Plaintiffs’ DMCA claim, following Judge Tigar’s decision in

17   Doe 1 v. GitHub, Inc., No 22-cv-06823-JST, 2024 235217, at *8 (N.D. Cal. Jan. 22, 2024), which held

18   that claims under Section 1202(b) of the DMCA require that copies of work from which CMI is

19   removed or altered include an element of “identicality.” Judge Tigar has certified that question for

20   interlocutory appeal to the Ninth Circuit. Doe 1 v. GitHub, Inc., No. 22-cv-06823-JST, 2024 WL

21   4336532 (N.D. Cal. Sep. 27, 2024). To preserve their right to ask the Court to reconsider its decision

22   dismissing Plaintiffs’ DMCA claims should the Ninth Circuit determine that “identicality” is not an

23   element of a Section 1202(b) claim, Plaintiffs have included the claims in their SAC, but have

24   voluntarily dismissed those claims pursuant to Plaintiffs’ Notice of Voluntary Dismissal, (Dkt. 241).

25            Defendants’ Statement

26            The Court dismissed Plaintiffs’ DMCA claims with prejudice on August 12, 2024. See Dkt. 223.

27   In the October 22, 2024 Joint Case Management Statement and Rule 26(f) Report, Defendants stated

28   that if Plaintiffs “later seek reconsideration of the Court’s dismissal of their DMCA claims, Defendants

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 1   will not oppose that motion on the ground that Plaintiffs abandoned their DMCA claims by not

 2   repleading them in a [Second Amended Complaint], but reserve the right to oppose reconsideration on

 3   all other grounds.” See Dkt. 235 at 9. In the same Joint Statement, Plaintiffs stated that they would not

 4   “add claims or make substantive modifications” that would “invite further Rule 12 briefing” in a Second

 5   Amended Complaint. See id. at 8.

 6            Nevertheless, on October 31, 2024, Plaintiffs repleaded DMCA claims in their Second Amended

 7   Complaint. See Dkt. 238 at 61, 68, 78. Because adding such claims back into the lawsuit would “invite

 8   further Rule 12 briefing,” see Dkt. 235 at 8, Defendants requested that Plaintiffs file a corrected

 9   complaint. Plaintiffs refused. Instead, on November 21, 2024, Plaintiffs voluntarily dismissed the

10   repleaded, already-dismissed DMCA claims “with prejudice.” See Dkt. 241.

11            In spite of Plaintiffs’ three-week delay, Defendants answered the Second Amended Complaint,

12   as modified by Plaintiffs’ voluntary dismissal, on December 6, 2024. See Dkts. 244 (Stability AI), 245

13   (Runway), 246 (Midjourney), 247 (DeviantArt).

14   6.       Evidence Preservation

15            The parties have reviewed this Court’s Guidelines Relating to the Discovery of Electronically

16   Stored Information. The parties met and conferred pursuant to Rule 26(f) on October 8, 2024, regarding

17   preservation of evidence relevant to the issues evident in the case. The parties are aware of their

18   obligations and have taken reasonable steps to preserve potentially relevant evidence. In addition, the

19   parties’ respective proposed ESI Protocols reiterate the parties’ preservation obligations.

20   7.       Disclosures

21            Plaintiffs and Defendants have served their Federal Rule of Civil Procedure 26(a) initial

22   disclosures. The Parties will supplement initial disclosures as necessary, consistent with Rule 26(e).

23   8.       Discovery

24                   a. Scope of Discovery

25            The parties agree that discovery is governed by the Federal Rules of Civil Procedure. The parties

26   will meet and confer on any discovery disputes that may arise in an effort to resolve them without court

27   intervention. The parties agree to electronic service. Discovery is currently underway, with each party

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 1   having served discovery requests. The parties are unaware of any specific concerns regarding the scope

 2   of discovery but are prepared to continue to meet and confer on this topic.

 3           Plaintiffs’ Statement:

 4           Plaintiffs already have requested or anticipate requesting documents and eliciting testimony from

 5   Defendants regarding, among other things: the development and training of Defendants’ Models; the

 6   training data for Defendants’ Models; Defendants’ copying of the LAION-400 and LAION-5B datasets,

 7   and Defendants’ general awareness of, and policies about, using copyrighted materials and/or pirated

 8   libraries in training data; sources of funding for the development of Defendants’ Models; financial

 9   market and profitability of Defendants’ Models; licensing deals and negotiations for training data;

10   knowledge of, and participation within, the AI training data market; Defendants’ protocols for

11   weighting, filtering, or modifying Models; any style lists, showcases, or mechanisms that allow for

12   searching and manipulation of outputs using Plaintiffs’ names. This list is not exhaustive and Plaintiffs

13   reserve all rights to update, add, or amend this list as additional information becomes available.

14           Defendants’ Statement:

15           Discovery should be governed by the Federal Rules of Civil Procedure, the Civil Local Rules,

16   and the Court’s Standing Order for Civil Cases.

17           In the interests of brevity and to comply with the page limit set forth in the Standing Order for

18   All Judges of the Northern District of California, Defendants incorporate by reference their Statements

19   regarding the non-exhaustive lists of subjects of discovery Defendants intend to seek from Plaintiﬀs,

20   reserving all rights to expand upon them as the case progresses. See Dkt. 235 at 10-11 (All Defendants),

21   11 (Midjourney).

22           Defendants note that Plaintiffs improperly served discovery on November 11 and 12, 2024,

23   which was before the discovery stay was lifted. 2 Nevertheless, Defendants will treat Plaintiffs’ discovery

24   requests as effectively served on November 21, 2024 and respond within 30 days of that date.

25

26   2
       Discovery opened on November 21, 2024. On October 29, 2024, the Court ordered that the discovery
27   stay would be lifted “[a]ssuming that the expected Second Amended Complaint . . . does not add claims
     or otherwise expand the scope of the case.” See Dkt. 240. On October 31, 2024, however, Plaintiffs
28   served a Second Amended Complaint that added the DMCA claims this Court had already dismissed
     with prejudice. See Dkt. 238. The stay therefore only lifted when Plaintiffs finally “voluntarily
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 1                     b. Completion of Discovery

 2                e close of fact discovery is on March 13, 2026.    e close of expert discovery is on July 17,

 3   2026.

 4                     c. Discovery Limitations

 5                e parties have met and conferred regarding the discovery limits set forth in the Federal Rules

 6   of Civil Procedure.

 7            Plaintiffs’ Statement: Given the nature of the legal and factual issues in this case, Plaintiffs

 8   believe that expansion of the discovery limits as set forth in the Federal Rules of Civil Procedure will be

 9   necessary in this case. Plaintiffs have conferred with Defendants regarding the likelihood they will

10   require expansion of the number of depositions and interrogatories and believe it is premature to limit

11   the number of depositions and interrogatories.

12            Plaintiﬀs seek to have a protocol established for depositions and an inspection protocol for

13   training data Plaintiﬀs also seek an expert discovery order.

14            Defendants’ Statement: Defendants do not believe that the total number of interrogatories and

15   depositions should exceed the applicable limits under the Federal Rules. Plaintiffs have not identified

16   any reason for deviating from the default limits. Plaintiffs have not shared any additional protocols they

17   seek but Defendants are willing to consider any such protocol.

18                     d. Preservation and Production of Electronically Stored Information

19            Plaintiffs’ Statement: The parties have reviewed the Guidelines Relating to the Discovery of

20   Electronically Stored Information (“ESI Guidelines”). Plaintiffs provided Defendants with a draft ESI

21   Protocol on October 8, 2024. On October 11, 2024, Defendants requested that Plaintiffs send their

22   proposed stipulation in the form of tracked changes in the model N.D. Cal., which Plaintiffs sent that

23   same day. Defendants did not provide a draft of the ESI Protocol until December 4, 2024, after

24   prompting from Plaintiffs—which was redlined against the model patent order. Plaintiffs sent a new

25   draft ESI protocol redlined against Defendants’ draft the next day, on December 5, prior to the Parties’

26   meet and confer. After meeting and conferring on December 6, 2024, Plaintiffs sent another draft ESI

27

28   dismissed” their repleaded DMCA claims from the Second Amended Complaint on November 21, 2024.
     See Dkt. 241.
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 1   Protocol that same day with modifications based on our conversation. Plaintiffs did not receive a draft

 2   from Defendants until early on December 9, 2024—this time based off of the standard model order.

 3   After meeting and conferring again at 10:00 PST on December 9, 2024, the parties were unable to come

 4   to an agreement on the ESI Protocol. On that call, Defendants did not indicate which version of the ESI

 5   Protocol it intended to file with the court—the version redlined against the model patent order or the

 6   version redlined against the standard model order. Plaintiffs sent their final ESI protocol proposal with

 7   modifications based on our conversation at 11:48am PST. Defendants did not send their operative

 8   version of the ESI Protocol to Plaintiffs until 5:40PM PST on the filing date, leaving Plaintiffs very

 9   limited time to review prior to filing our briefs.

10           Defendants’ Statement:

11           The parties have not come to an agreement on an Electronically Stored Information Protocol

12   (“ESI Protocol”) and accordingly filed briefs on this issue with the Court on December 9, 2024.

13           The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

14   Information (“ESI Guidelines”). Plaintiffs provided Defendants with a draft ESI Protocol on October 8,

15   2024. Plaintiffs’ draft deviated significantly from any of the model stipulated orders in this District,

16   creating unnecessary work among Defendants to propose revisions that comply with the spirit of the

17   Court’s Standing Order for Civil Cases, which states that parties “shall use one of the model stipulated

18   orders” available on the Northern District of California’s website. On October 11, 2024, Defendants

19   responded to Plaintiffs by noting this Court’s Standing Order for Civil Cases and requested that

20   Plaintiffs send redlines reflecting their proposed stipulation against a Northern District model, which

21   Plaintiffs sent that same day. Defendants provided their draft, which is based on the Northern District’s

22   Model Stipulated Order Re: Discovery of Electronically Stored Info (Patent Cases), on December 4,

23   2024. After meeting and conferring on December 6, 2024, the parties exchanged new draft ESI

24   Protocols with modifications, in an effort to compromise, based on the Parties’ conversations. After

25   meeting and conferring again on December 9, 2024, the parties were unable to come to an agreement on

26   the ESI Protocol.

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 1                    e. Protective Order

 2           Plaintiﬀs’ Statement:

 3           Plaintiﬀs provided Defendants with a draft Protective Order on October 8, 2024. On October 11,

 4   2024, Defendants requested that Plaintiﬀs send their proposed stipulation in the form of tracked changes

 5   in the model N.D. Cal. which Plaintiﬀs sent that same day. Defendants did not provide a draft of the

 6   Protective Order until December 2, 2024 after prompting from Plaintiﬀs. After meeting and conferring

 7   on December 9, 2024, the parties signiﬁcantly narrowed the scope of disagreement on the Protective

 8   Order, but remained at impasse only as to the deﬁnition of “Source Code.”      e Parties have accordingly

 9   ﬁled briefs on this issue with the Court.

10           Defendants’ Statement:

11                e parties have not come to an agreement on the Protective Order and accordingly ﬁled briefs

12   on this issue with the Court on December 9, 2024. Plaintiﬀs provided Defendants with a draft Protective

13   Order on October 8, 2024. Plaintiﬀs’ draft deviated signiﬁcantly from the model stipulated order in this

14   District, creating unnecessary work among Defendants to propose revisions that comply with the spirit

15   of the Court’s Standing Order for Civil Cases, which states that parties “shall use one of the model

16   stipulated orders” available on the Northern District of California’s website. On October 11, 2024,

17   Defendants responded to Plaintiﬀs by noting this Court’s Standing Order for Civil Cases and requested

18   that Plaintiﬀs send redlines reﬂecting their proposed stipulation against the Northern District model,

19   which Plaintiﬀs sent that same day. Defendants provided their draft, which is based on the Northern

20   District model, on December 2, 2024. After the meeting and conferring on December 6, 2024, Plaintiﬀs

21   responded to Defendants’ draft. After the parties met and conferred again on December 9, 2024, the

22   parties were unable to come to an agreement on the Protective Order.

23                    f. Privilege

24           Privilege issues, including privilege logging, are addressed in Plaintiffs’ proposed ESI Protocol.

25   Plaintiffs’ proposed Protective Order incorporates a Rule 502(d) agreement governing the inadvertent

26   production of privileged materials. Defendants believe that the Federal Rules of Civil Procedure and

27   caselaw adequately set forth the requirements for privilege logs, such that Plaintiffs’ proposed language

28   for the Protective Order is unnecessary. Defendants’ proposed Protective Order incorporates a Rule

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 1   502(d) agreement stating that inadvertent production of privilege material shall not constitute a waiver

 2   of that privilege or other protection. Defendants will comply with the applicable statutory and caselaw

 3   requirements.

 4                   g. Deposition Logistics

 5            The parties will meet and confer in good faith regarding a protocol for conducting in-person and

 6   hybrid depositions. The parties expect that in-person depositions of witnesses located in the United

 7   States and under the control of parties to the litigation will be conducted in the Northern District of

 8   California or elsewhere in the United States. The parties agree to meet and confer should any disputes

 9   arise as to location of depositions and/or use of remote depositions. The parties believe that a deposition

10   protocol is appropriate to set mutually agreed upon guidelines for depositions in this case.

11                   h. Discovery Issues and Potential Disputes

12            The parties have not identified any specific discovery disputes and are prepared to meet and

13   confer on any discovery disputes that may arise. The parties will resolve any potential disputes regarding

14   the stipulated privilege protocol in accordance with the Court’s standing orders.

15                   i. Narrowing of Issues

16            No issues have yet been narrowed by agreement or by motion. The parties are prepared to meet

17   and confer about narrowing potential issues should the circumstances of the case change. Given the

18   challenges of navigating joint or simultaneous submissions with multiple parties, see ¶¶ 8(d), (e), and

19   the considerable impact late filings have on the quality of life of support staff, Plaintiffs request that the

20   Court issue an order regarding simultaneous/joint submissions, requiring that the Parties: (a)

21   simultaneously exchange drafts/inserts by 5:00pm PT two days before filing; (b) exchange final

22   substantive edits at 1:00pm PT the day of filing; and (c) file their submissions by 5:00pm PT the day of

23   filing, absent extenuating circumstances.

24   9.       Class Action

25            This case is a putative class action. Counsel for both sides have reviewed the Procedural

26   Guidance for Class Action Settlements.

27            Plaintiffs’ Statement: Plaintiffs believe that the class is so numerous that joinder of all members

28   is impracticable. Plaintiffs do not know the exact size of the class since that information is within the

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 1   exclusive control of Defendant. Upon information and belief, Plaintiffs believe and allege that the

 2   number of class members is in the millions. Plaintiffs allege that, like all class members, their copyright-

 3   protected Works were used to train Defendants’ Models. Plaintiffs allege all members of the class have

 4   been similarly injured by Defendants’ conduct. Plaintiffs believe there are numerous questions of law or

 5   fact common to the class, and that those issues predominate over any question affecting only individual

 6   class members. These common legal and factual issues include: whether Defendants violated the

 7   copyrights of Plaintiffs and the class when it downloaded copies of Plaintiffs’ copyrighted Works and

 8   used them to train Defendants’ models; whether this Court should enjoin Defendants from engaging in

 9   the unlawful conduct alleged herein, and the appropriate scope of that injunction; whether Defendant

10   Midjourney misappropriated Plaintiffs and Class members’ trade dress by generating images imitating

11   the trade dress of Plaintiffs and Class members; whether Defendant Midjourney caused confusion about

12   Plaintiffs and Class members’ endorsement of, or affiliation with, the Midjourney product; whether any

13   affirmative defense (including fair use) excuses Defendants’ conduct; and the amount of damages.

14           Defendants’ Statement:

15           This action should not be certified as a class action. Defendants are aware of no facts showing

16   that Plaintiffs are entitled to maintain this action under Federal Rule of Civil Procedure 23(a) and (b).

17   Defendants intend to oppose any motion for any class certification at the appropriate time.

18   10.     Related Cases

19           The parties are aware of one additional case brought on behalf of artists with registered

20   copyrights involving certain Defendants’ Models: Getty Images (US), Inc. v. Stability AI, Inc., No. 1:23-

21   cv-00135 (D. Del. filed Feb. 6, 2023).

22           Defendants deny that this is a related case within the meaning of Local Rule 3-12.

23   11.     Relief

24           Plaintiffs’ Statement: Plaintiffs seek statutory and other damages under 17 U.S.C. § 504 for

25   Defendants’ violations of the copyrights of Plaintiffs and the class, including an award of reasonable

26   attorneys’ fees under 17 U.S.C. § 505, 15 U.S.C. § 1117, or other applicable statutes. Plaintiffs further

27   seek destruction or other reasonable disposition of all copies Defendants made or used in violation of the

28   exclusive rights of Plaintiffs and the class, pursuant to 17 U.S.C. § 503(b). Plaintiffs seek pre- and post-

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 1   judgment interest on damages awarded to Plaintiffs and the class, at the highest legal rate from and after

 2   January 13, 2023, the date the Complaint was first served on Midjourney, Stability AI, and DeviantArt,

 3   and November 29, 2023, the date the FAC was first served on Runway.

 4           Defendants’ Statement:

 5           Defendants deny that Plaintiffs are entitled to any relief whatsoever. Defendants do not seek

 6   relief at this time other than attorneys’ fees and costs if they prevail.

 7   12.     Settlement and ADR

 8           ADR Certifications pursuant to ADR Local R. 3-5(b) were filed by Plaintiffs Ellis, Brom,

 9   Manchess, Rutkowski, Kaye, and Zhang on May 9, 2024 (Dkts. 200-206) and by Plaintiffs Andersen,

10   and Ortiz on August 16, 2023 (Dkts. 98-103). Defendant Stability AI filed its certification on September

11   12, 2023 (Dkt. 109) and Defendant DeviantArt filed its certification on August 29, 2023 (Dkt. 106).

12   Defendant Runway filed its certification on October 15, 2024 (Dkt. 233). Defendant Midjourney filed its

13   certification on October 21, 2024 (Dkt. 234). The parties continue to meet and confer on an ADR plan.

14   13.     Other References

15           The parties agree that this case is not suitable for binding arbitration, a special master, or the

16   Judicial Panel on Multidistrict Litigation at this time. The parties do not oppose having discovery

17   disputes heard by a magistrate judge if the Court is inclined to appoint a discovery magistrate.

18   14.     Narrowing of Issues

19           Since the Court granted in part Defendants’ motions to dismiss, which dismissed certain claims

20   with prejudice, no other issues have been narrowed by agreement or by motion.

21   15.     Scheduling

22                a. Expedited Trial Procedures

23           The parties agree that these Actions are inappropriate for the Expedited Trial Procedure of

24   General Order 64.

25                b. Case Schedule

26           The Court adopted the parties’ stipulated schedule through the Replies in support of the First

27   Round Motions. The Court set the hearings for Motions for Class Certification and Summary Judgment

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 1   on November 4, 2026 at 2:00 pm, the Pretrial Conference on March 1, 2027 at 2:00 pm, and Trial on

 2   April 5, 2027 at 8:30am. The schedule as adopted by the Court is shown in Exhibit A.

 3   16.      Trial

 4            The case will be tried before a jury. Trial has been set for April 2, 2027 at 8:30am (Dkt. 240).

 5   Plaintiffs anticipate a 14-day trial. Defendants believe it is premature to estimate the length of trial at

 6   this time.

 7   17.      Disclosure of Non-Party Interested Entities or Persons

 8            Plaintiﬀs Andersen, and Ortiz ﬁled a Certiﬁcation of Interested Entities or Persons on January 20,

 9   2023 (Dkt. 9). Plaintiﬀs Ellis, Brom, Manchess, Rutkowski, Kaye, and Zhang will ﬁle their Certiﬁcation

10   of Interested Entities or Persons concurrently with the SAC. Certiﬁcations of Interested Entities or

11   Persons were ﬁled by DeviantArt on February 6, 2023 (Dkt. 34); Midjourney on February 23, 2023

12   (Dkt. 48); Stability AI on April 18, 2023 (Dkts. 56-57); and Runway on January 10, 2024 (Dkt. 150).

13   18.      Professional Conduct

14            All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for

15   the Northern District of California.

16   19.      Other Matters

17                e parties are not presently aware of other matters that may facilitate the resolution of these

18   cases.

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 1   Dated: December 10, 2024                           Respectfully submitted,

 2                                                        By: /s/Joseph R. Saveri
 3
                                                        Joseph R. Saveri (SBN 130064)
 4                                                      Cadio Zirpoli (SBN 179108)
                                                        Christopher K.L. Young (SBN 318371)
 5                                                      Elissa A. Buchanan (SBN 249996)
                                                        Evan Creutz (SBN 349728)
 6                                                      David Lerch (SBN 229411)
 7                                                      JOSEPH SAVERI LAW FIRM, LLP
                                                        601 California Street, Suite 1505
 8                                                      San Francisco, California 94108
                                                        Telephone: (415) 500-6800
 9                                                      Facsimile: (415) 395-9940
                                                        Email:      jsaveri@saverilawﬁrm.com
10                                                                  cyoung@saverilawﬁrm.com
11                                                                  eabuchanan@saverilawﬁrm.com
                                                                    ecreutz@saverilawﬁrm.com
12                                                                  dlerch@saverilawﬁrm.com

13                                                      Matthew Butterick (State Bar No. 250953)
                                                        1920 Hillhurst Avenue, #406
14                                                      Los Angeles, CA 90027
15                                                      Telephone: (323) 968-2632
                                                        Facsimile: (415) 395-9940
16                                                      Email: mb@buttericklaw.com

17                                                      Brian D. Clark (pro hac vice)
                                                        Laura M. Matson (pro hac vice)
18
                                                        Arielle Wagner (pro hac vice)
19                                                      Eura Chang (pro hac vice)
                                                        LOCKRIDGE GRINDAL NAUEN PLLP
20                                                      100 Washington Avenue South, Suite 2200
                                                        Minneapolis, MN 55401
21                                                      Telephone: (612)339-6900
                                                        Facsimile: (612)339-0981
22
                                                        Email:      bdclark@locklaw.com
23                                                                  lmmatson@locklaw.com
                                                                    aswagner@locklaw.com
24                                                                  echang@locklaw.com
25                                                      Counsel for Individual and Representative
                                                        Plaintiﬀs and the Proposed Class
26

27

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 1   Dated: December 10, 2024                           Respectfully Submitted,

 2                                                        By: /s/ Andrew M. Gass
 3
                                                        Andrew M. Gass (SBN 259694)
 4                                                      Michael H. Rubin (SBN 214636)
                                                        Brittany N. Lovejoy (SBN 286813)
 5                                                      LATHAM & WATKINS LLP
                                                        505 Montgomery Street, Suite 2000
 6
                                                        San Francisco, California 94111-6538
 7                                                      Telephone: (415) 391-0600
                                                        Email: andrew.gass@lw.com
 8                                                             michael.rubin@lw.com
                                                               brittany.lovejoy@lw.com
 9
                                                        Counsel for Defendant DeviantArt, Inc.
10

11

12   Dated: December 10, 2024                           Respectfully Submitted,

13                                                        By: /s/Joseph Charles Gratz
14                                                      Joseph Charles Gratz
                                                        Eoin Paul Connolly
15
                                                        Tiffany Cheung
16                                                      Timothy Chen Saulsbury
                                                        MORRISON & FOERSTER LLP
17                                                      425 Market Street
                                                        San Francisco, California 94105
18                                                      Telephone: (415) 268-7000
19                                                      Email: jgratz@mofo.com
                                                               econnolly@mofo.com
20                                                             tcheung@mofo.com
                                                               tsaulsbury@mofo.com
21
                                                        Laura Gilbert Remus
22                                                      MORRISON & FOERSTER LLP
23                                                      707 Wilshire Boulevard, Suite 6000
                                                        Los Angeles, CA 90017-3543
24                                                      Telephone: (213) 892-5200
                                                        Email: abennett@mofo.com
25                                                             lremus@mofo.com
26                                                      Aditya Vijay Kamdar
27                                                      MORRISON & FOERSTER LLP
                                                        2100 L Street NW, Suite 900
28                                                      Washington, DC 20037
                                                        Telephone: (202) 887-1500
       Case No. 3:23-cv-00201-WHO                14
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                                                        Email: akamdar@mofo.com
 1

 2                                                      Mark Alan Lemley
                                                        LEX LUMINA PLLC
 3                                                      745 Fifth Avenue, Suite 500
                                                        New York, NY 10151
 4                                                      Telephone: (646) 906-8657
                                                        Email: mlemley@lex-lumina.com
 5

 6                                                      Counsel for Defendants Stability AI Ltd. and
                                                        Stability AI, Inc.
 7

 8
     Dated: December 10, 2024                           Respectfully Submitted,
 9
                                                          By: /s/ Angela Dunning
10

11                                                      Angela Dunning
                                                        Sam Blankenship
12                                                      CLEARY GOTTLIEB STEEN &
                                                        HAMILTON LLP
13                                                      1841 Page Mill Road, Suite 250
                                                        Palo Alto, CA 94304-1248
14
                                                        Telephone: (650) 815-4131
15                                                      Email: adunning@cgsh.com
                                                               sblankenship@cgsh.com
16
                                                        Amira Perryman
17                                                      Arminda B. Bepko
18                                                      Vishakha Joshi
                                                        CLEARY GOTTLIEB STEEN &
19                                                      HAMILTON LLP
                                                        One Liberty Plaza
20                                                      New York, NY 10006
                                                        Telephone: (212) 225-2517
21                                                      Email: aperryman@cgsh.com
22                                                             abepko@cgsh.com
                                                               vjoshi@cgsh.com
23
                                                        Counsel for Defendant Midjourney, Inc.
24

25

26

27

28

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     Dated: December 10, 2024                           Respectfully Submitted,
 1

 2
                                                          By: /s/ David Jason Silbert
 3
                                                        David Jason Silbert
 4                                                      Paven Malhotra
                                                        Bailey Wilson Heaps
 5                                                      Julia Leigh Greenberg
 6                                                      Luke P. Apfeld
                                                        KEKER VAN NEST & PETERS LLP
 7                                                      633 Battery Street
                                                        San Francisco, California 94111-1809
 8                                                      Telephone: (415) 391-5400
                                                        Email: dsilbert@keker.com
 9                                                              pmalhotra@keker.com
10                                                              bheaps@keker.com
                                                                jgreenberg@keker.com
11                                                              lapfeld@keker.com

12                                                      Counsel for Defendant Runway AI, Inc.
13

14

15

16

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 1                                ATTESTATION PURSUANT TO CIVIL L.R. 5-1
 2                e ﬁler attests that the other signatories listed, on whose behalf the ﬁling is also submitted,
 3   are registered CM/ECF ﬁlers and concur in the ﬁling’s content and have authorized the ﬁling.
 4

 5   Dated: December 10, 2024                                                 /s/ Joseph R. Saveri
                                                                              Joseph R. Saveri
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